 Case 1:18-cv-01330-RGA Document 237 Filed 05/23/22 Page 1 of 1 PageID #: 13756




                              UNITED STATES DISTRICT COURT

                                 DISTRICT OF DELAWARE

    MARK ADAMS, AV SELECT
    INVESTMENTS, LLC, DR.
    GREGORY SIMONIAN, WADE
    HARTMAN, and FRANK
    EDWARD SMITH,

                Plaintiffs,                         C. A. No. 1:18-cv-1330-RGA

          V.

    JOHN.KLEIN,

                Defendant.

                                 [~ORDER

          Before the Court is Plaintiffs ' Motion to Compel American Express to

    Produce Documents in Response to Subpoena. The Court, having determined that
    the Motion is well founded and for good cause shown, hereby GRANTS the

    motion.

          Defendant shall respond to plaintiffs ' subpoena request by ..,..__ _ _ __

    - - ~l_7____, 2022.
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          It is SO ORDERED this        )3 rf          day of   /1-?7                  2022.
